 

U.S. DISTRICT COURT

 

 

 

 

 

 

 

EASTERN DISTRICT OF LOUISIAKA
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA WILLIAM W. BLEVINS
CLERK
UNITED STATES OF AMERICA * CRIMINAL DOCKET NO. 14-181
Y. * SECTION: “Cc”
HON KIT LAU *
* * *
FACTUAL BASIS

The defendant, HON KIT LAU (“LAU”), has agreed to plead guilty as charged to count
one of the one-count Superseding Bill of Information. Count one charges LAU with conspiring
to smuggle turtles from the United States, in violation of Title 18, United States Code, Section
554; all in violation of Title 18, United States Code, Section 371.

Should this matter have gone to trial, the government would have proven, through the
introduction of competent testimony and other admissible evidence, the following facts, beyond
a reasonable doubt, to support the allegations in the Superseding Bill of Information:

In June 2013, investigators with the United States Fish and Wildlife Service (USFWS),
United States Postal Inspection Service (USPIS), and United States Department of Homeland
Security, Homeland Security Investigations (HSI) began investigating L.T. for illegally
exporting turtles. Initial research showed that L.T. had a Facebook page titled “Lawrence
Turtleman” and that L.T. had several photographs of baby and adult turtles posted on his
Facebook page. Three of the turtles were given a preliminary identification as Eastern Box,

Mediterranean Spur-Thighed Tortiose, and African Spurred Tortoise. L.T.’s Facebook page had
several groups associated with it indicating the sale of reptiles including; Reptiles, Exotics, and
other pets for sale, Low Country Online Auction, and Reptiles and Redheads.

Investigators also checked law enforcement databases for records related to L.T. The
USFWS law enforcement database had one result for L.T. In 2004-2005, L.T. was targeted by
USFWS in an illegal interstate commerce scheme selling and bartering illegally captured North
American Wood turtles (Giyptemys Insculpta). Agents executed a search warrant on the
residence of the main target of the investigation, J. T., and a computer was seized. Emails
between J. T. and L.T. showed that both had knowledge that their activities were unlawful. That
investigation revealed that J.T. was capturing the North American Wood Turtles from the wild
and that L.T. was brokering deals for sale and barter of the turtles. L.T. would then send J.T. his
share of the proceeds from the sale. USFWS agents conducting the investigation were preparing
an application for a search warrant on L.T.’s home, but Hurricane Katrina made landfall in New
Orleans area before the warrant was finalized. L.T, was never contacted about that investigation;
however, J.T, was convicted of Lacey Act charges in Pennsylvania. United States v. J.T., W.D.
Pa., Crim, No. 05-258. In June 2006, J.T. was sentenced to serve one year and one day in prison.

In the preliminary stages of the instant investigation, the government subpoenaed records
related to L.T.’s bank accounts at First NBC Bank. Those records show that on November 15,
2011, L.T. opened account #XXXKX9025. In addition to the account ending 9025, L.T. had two
other bank accounts with First NBC Bank with account numbers ending in 7701 and 2837. L.T.
informed a bank branch associate that the 9025 account was set up solely to receive incoming
wires because he did not want to give out his personal account number. L.T. stated he was
selling various items on the internet. An analysis of L.T.’s accounts at First NBC revealed that

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between November 2011 and October 2012, L.T. received approximately $206,500 in 16
incoming wire transfers from Hong Kong, China. Each of these wires was sent by or on behalf
of LAU and/or H.Y.B.W., aka H.M., aka B.W. Further subpoenaed financial records revealed
that from October 2011 through May 2013, L.T. received funds in various amounts totaling
$19,624.93 from a PayPal account registered to him. These funds were sent by or on behalf of
LAU and/or H.Y.B.W., aka H.M., aka B.W Combined, the wires and PayPal transfers total
$221,780,00.

Subpoenaed financial records also revealed that L.T. had many charges on his credit card
from the United States Postal Service. A USPIS inspector gathered information related to these
charges and shipments made by L.T. from November 2011 to November 2012. Over this one
year period, L.T, used the USPS Express Mail system 42 times. 41 of the 42 Express Mail
shipments had the Slidell address of a rental home owned by L.T. or a slight variation thereof
posted as a return address. Specifically, he used 6549 Lauren Drive 11 times, 6540 Lauren Drive
3 times, 6541 Lauren Drive 1 time, 6548 Lauren Drive 13 times, and 6544 Lauren Drive 13
times. During the November 2011 to November 2012 time period, L.T. shipped to several
different addresses, but two addresses were shipped to 35 times. 13 shipments were sent to J.T.,
AXX 11th St. Charlera, PA 15022, and 22 shipments were sent to A.W., XXXX Newby Ave.
Rosemead, CA 91770. As noted above, L.T. was previously involved in an illegal turtle
smuggling scheme with J.T. for which J.T. was convicted of Lacey Act violations and sentenced
to a year and a day in prison. The investigation revealed that A.W. serves as a drop location in
California for unlawful turtle shipments that are later smuggled to Hong Kong using a common
cartier, thereby circumventing the official export channels.

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The mailing records show that the shipping costs and weights of the shipments sent to
A.W. were of a significantly higher amount than the shipments made to J.T. This pattern
demonstrates how the scheme works: the larger, heavier boxes sent to A.W. contain the turtles,
while the smaller packages sent to J.T. contain cash obtained by L.T. from the proceeds for the
illegal turtle sales. By comparing dates and times from USPS records with the records
subpoenaed from financial institutions, investigators were able to see a correlation between
payments from the turtle buyers and shipments of money and turtles. Specifically, L.T. receives
a payment for a brokered sale, generally via wire from Hong Kong or PayPal. L.T. then removes
cash from his account, and a short time after this withdrawal, sends out two packages. One
package is sent to A.W. (or another co-conspirator who also serves as a drop location in
California) and a second to J.T. in Pennsylvania. The one to A.W. is turtles, as evidenced by the
large weights (and later confirmed through the interception of shipments and admissions of L.T.
and J.L.). The second to J.T. is cash or money orders, as evidenced by the lighter weight and the
near-time withdrawals of cash observed in L.T.’s bank accounts (and later confirmed through the
interception of shipments and admissions of L.T,).

In early 2014, USPIS inspectors in California—who had no knowledge of the
investigation into L.T.---intercepted a package sent by L.T. to A.W. A.W. was contacted by
USPIS inspectors and gave consent to search the package, stating that there were only turtles
inside. Inside the box, inspectors found 11 adult North American Woed turtles that were
wrapped with duct tape and bundled in cloth bags to eliminate movement during shipment. The
mailing label had the return address of 6540 Lauren Drive, Slidell, LA, which is a variant of the
address of L.T.’s rental property. USPIS inspectors also located two corresponding Express Mail

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shipping labels from L.T. to J.T. on January 14th and 15th, days before L.T, mailed out the
parcel of turtles to A.W. As with the other shipments, the shipping costs and weights of the
shipments sent to A.W. were of a significantly higher amount than the shipments made to J.T.
L.T. spent $148.70 in postage on the parcel to A.W., which contained the eleven turtles and
weighed 26.40 pounds. The two Express Mail flats L.T. mailed to J.T. weighed 2.5 ounces and 3
ounces, respectively.

USFWS investigators conducted a short interview with A.W., who was actually identified
as $.Y.C. A.W. stated that she purchased the turtles from L.T. on January 16, 2014, and paid
$4750.00 in the form of a bank transfer. A.W. sent an email to USFWS Special Agent Laura
Chee on January 22, 2014 explaining the purchase of the turtles and including a homemade
invoice. The email says that since the turtles came from Louisiana, and not a state where the
turtles are protected, then the shipment is totally legal. A.W. explained that she purchased the
turtles from L.T. through an online website named Faunaclassifieds.com,’ and her plans were to
sell the turtles at a Reptile show in Arizona,

Contrary to A.W.’s statement to agents, the shipment of turtles she received from L.T.
was not in fact legal because (1) the turtles were captured from the wild in Pennsylvania, and
Pennsylvania law prohibits the capture of any North American Wood turtles from the wild, and
(2) L.T. is not licensed in Louisiana to sell, transport, or export turtles and so his shipments of
turtles from Louisiana to California were illegal. Also contrary to A.W.’s statement, L.T.’s bank

records do not reflect a payment from A.W. on or near January 16, 2014 in the amount of

 

' Faunaclassifieds.com is a known website for the sale or barter of reptiles. These types of websites are a central
location where reptile traders, both legal and illegal, go to facilitate their trade. These sites provide anonymity to
users and are often used to facilitate illegal activity and specifically illegal trade in turtles.

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$4,750, but do show a wire transfer from Hong Kong of $9,473 on January 14, 2014.

During the course of the investigation, agents conducted surveillance of L.T.’s home at
XXX Stephanie Lane, Covington, Louisiana, from public areas near the home and through a fly
over. During the summer months of 2013, agents observed building materials on the driveway
of the residence. L.T. was constructing large cinder block enclosures beside the house.
Investigators identified these structures as enclosures commonly used to hold turtles. On May 6,
2014, aerial surveillance was conducted to get an updated view of the holding pens. The flight
confirmed that L.T. was using the pens to house turtles. While conducting surveillance from
public areas, investigators were able to view the inside of L.T.’s garage. The garage is not used
to store vehicles, and instead houses stackable, clear plastic containers and aquariums. These
containers and aquariums are commonly used to hold turtles. Agents also set up a pole camera
that recorded the front of the house and showed L.T. entering and exiting his vehicle. After
intercepting the package of turtles that L.T. sent to A.W. on January 21, 2014, agents reviewed
the pole camera footage and observed L.T. departing his residence holding the box sent to A.W.
minutes before he mailed the box from the U.S. Post Office in Madisonville, LA. Agents were
able to match similar pole camera footage from other days to four other known shipments.

In June 2014, investigators received records from Federal Express (FedEx) related to
shipments sent and received by L.T.. Records received from FedEx confirmed that L.T. also
used FedEx to transport turtles and had switched from USPS Express Mail to FedEx following
the interception by investigators of his January 21, 2014 shipment to A.W. FedEx records show
that L.T. sent a package of turtles on April 15, 2014, to “Ken Lau” XXXX Remer St., South El
Monte, CA 91733. The parcel bearing FedEx tracking number 802278163370, weighed twenty-

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two (22) pounds, and again L.T. used the sender address of 6544 Lauren Dr., Slidell, LA 70460.
Scrutiny of the shipping label by investigators found that the contact number used for “Lau” was
actually the contact number for A.W., confirming that L.T. and A.W. were transporting turtles
again. L.T. sent an additional 4 packages of turtles from April 24, 2014, through May 29, 2014,
to “Kary Lee” in California. The addresses used for Lee, Lau, and A.W. are all located within a
few miles of each other in the same area of California.

In June 2014, agents received additional, updated banking records from First NBC Bank.
The records showed that L.T. opened a new account #XXXX9374 with First NBC Bank on
January 10, 2014, Between January 10, 2014 and June 2014, L.T. received 7 foreign wires
totaling $67,348.00 into this account. The wires correspond with the dates and times of the
shipments sent to Lee, Lau, and A.W. The senders of the wires were the same persons that L.T.
had been receiving money from since 2011. Each of these wires was sent by or on behalf of
LAU and/or H.Y.B.W., aka H.M., aka B.W.

On June 25, 2014, the government sought a search warrant to search L.T.’s home at XXX
Stephanie Lane Covington, LA, and a seizure warrant to seize funds in L.T.’s First NBC Bank
account #XXXXX9374, The Honorable Karen Wells Roby, United States Magistrate Judge for
the Eastern District of Louisiana, signed both warrants on June 26, 2014, and agents executed
them later that day.

In the course of executing the search warrant, agents initiated a conversation with L.T..
Although he was never in custody, agents nonetheless read L.T. his Miranda rights. After
acknowledging those rights, L.T, agreed to speak with agents and ulttmately to cooperate with
the investigation. L.T. supplied agents with details of the illegal turtle smuggling scheme that

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corroborated and added to the information that they had learned during the investigation. L.T.
confirmed J.T.’s role as his supplier of illegally captured North American Wood turtles in
Pennsylvania. L.T. told agents about additional shipments that he expected to receive from J.T.
Based on that information, agents intercepted a package of turtles that J.T. had shipped to L.T.,
and with L.T.’s consent, opened the package, which contained North American Wood turtles.
L.T. also confirmed that the shipments he had made to J.T. contained cash or cash equivalents
and that the shipments he made to California contained turtles. L.T. told agents that he arranged
shipments with J.T. through text messages and that he brokered the sales of turtles with buyers in
Hong Kong through email.

In order to obtain further evidence of the unlawful conspiracy, investigators continued to
facilitate the scheme as described above. L.T, agreed to cooperate with investigators by
processing the turtle and money transactions, while law enforcement efforts were made in PA,
CA, and Hong Kong, China.

L.T. provided information about J.T., the individual capturing the turtles from the wild in
Pennsylvania. The communications between L.T. and J.T. facilitating the unlawful taking,
shipment, storage, and payment for North American Wood turtles in PA were conducted through
phone texts. The phone numbers associated with these texts are 985-XXX-XXXX (L.T.) and
724-XXX-XXXX (J.T.). The following paragraphs outline communications and transactions
that occurred between L.T. and J.T. after L.T. began cooperating in the investigation and
document J,T.’s role as the supplier of the North American Wood turtles in the illegal scheme.

On June 27, 2014, J.T. shipped 13 North American Wood turtles from Pennsylvania to
L.T. in Louisiana via the USPS. J.T. and L.T. communicated via phone texts, that the turtles

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were sent, how many were sent, and how much money J.T. was owed. J.T. gave L.T. the
tracking number and L.T. affirmed that the shipment had arrived. With L.T.’s consent, agents
opened the package and took photos of the turtles.

On June 30, 2014, J.T. shipped 10 North American Wood Turtles from Pennsylvania to
L.T. in Louisiana via the USPS. J.T. and L.T. communicated via phone texts, that the turtles
were sent, how many were sent, and how much money J.T. was owed. J.T. gave L.T. the
tracking number and L.T. affirmed that the shipment had arrived. With
L.T.’s consent, agents opened the package and took photos of the turtles.

On July 1, 2014, L.T. sent $2,500 in cash to J.T. as payment for the turtles he had
received. L.T. communicated via phone texts with J.T. affirming shipment was sent. J.T.
relayed that he was sending an additional 3 pairs of North American Wood Turtles, and asked for
$2860 to be sent instead of $2500. L.T. replied that shipment had already been sent and that he
would pay the difference on the next cash payment. On July 3, 2014, the package was delivered
to J.T. at the address listed on the package, XXX 11th Street Charleroi, PA. USPIS inspectors in
PA conducted surveillance on J.T.’s residence and confirmed delivery of the cash.

On July 1, 2014, J.T. shipped 15 North American Wood turtles from Pennsylvania to L.T.
in Louisiana via the USPS. J.T. and L.T. communicated via phone texts, that the turtles were
sent, how many were sent, and how much money J.T. was owed. J.T. gave L.T. the tracking
number and L.T, affirmed that the shipment had arrived. With L.T.’s consent, agents opened the
package and took photos of the turtles.

On July 3, 2014, J.T. shipped 9 North American Wood turtles from Pennsylvania to L.T.
in Louisiana via the USPS. J.T. and L.T. communicated via phone texts, that the turtles were

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sent, how many were sent, and how much money J.T. was owed. J.T. gave L.T. the tracking
number and L.T. affirmed that the shipment had arrived. With L.T.’s consent, agents opened the
package and took photos of the turtles.

On July 9, 2014, L.T. sent $1,690 in cash to J.T. as payment for the turtles he had
received. L.T. communicated via phone texts with J.T. affirming shipment was sent and relaying
the tracking number. J.T. texted that he was sending North American Wood turtles to L.T. and
was going hunting for North American Wood turtles on July 10, 2014. On July 10, 2014, the
package was delivered to J.T. at the address listed on the package, XXX 11th Street Charleroi, Pa
15022. A controlled delivery was conducted by a USPIS inspector. The inspector witnessed J,T.
sign for and accept the cash.

On July 11, 2014, J.T. shipped 20 North American Wood turtles from Pennsylvania to
L.T. in Louisiana via the USPS in two separate packages. J.T. and L.T. communicated via phone
texts, that the turtles were sent, how many were sent, and how much money J.T. was owed. J.T.
texted that he had only caught male North American Wood turtles on his hunting trip that had
taken place on July 10, 2014, but was going to hunt for North American Wood turtles again on
Saturday, July, 12th. With L.T.’s consent, agents opened the package and took photos of the
turtles.

On July 14, 2014, J.T. shipped 9 North American Wood turtles from Pennsylvania to L.T.
in Louisiana via the USPS. When J.T. delivered the package to the United State Post Office in
Dunlevy, Pennsylvania, USPIS inspectors conducted surveillance and tock photos of J.T.
arriving and leaving the Post Office in his Black GMC Yukon PA registration XXXXXXX.
Video was also taken of J.T. as he completed shipping documents and made payment to the

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USPS. On July 14, 2014, J.T. and L.T. communicated via phone texts, that the turtles were sent,
how many were sent and how much money J.T. was owed. J.T. gave L.T. the tracking number
and L.T. affirmed that the shipment had arrived. J.T. texted that he was going hunting for North
American Wood turtles on July 16, 2014. He also texted that he had a large amount of Eastern
Box turtles that he wanted to sell. As with North American Wood turtles, it is illegal to capture
Eastern Box turtles in Pennsylvania. With L.T.’s consent, agents opened the package on July 16,
2014, and took photos of the turtles.

On July 17, 2014, L.T. sent $1,050 in cash to J.T. as payment for the turtles he had
received. L.T. communicated via phone texts with J.T. affirming shipment was sent and relaying
the tracking number. On July 23, 2014, investigators in PA conducted a trash pull at J.T.’s
residence at approximately 04:30 hours. Two bags were removed from the trash that was placed
outside the fenced yard for normal trash pickup. In the trash, investigators discovered a USPS
“Flat Rate Mailing Envelope” that had been torn into several small pieces. The envelope
contained the following information: “From: L.T., XXX Stephanie Ln., Covington, LA 70435”;
“TO: (1.T.], XXX 11th St, Charleroi, PA 15022.” The envelope had the following postage
information: “U.S. Postage Paid, Madisonville, LA 70447, Jul 17, 14, amount $5.60” and was
assigned “USPS Tracking# 9114901230803655398201,” which was the tracking number on the
envelope that was used to send the payment of $1050.00 to J.T. on July 17, 2014.

On July 22, 2014, J.T. shipped 10 North American Wood turtles from Pennsylvania to
L.T. in Louisiana via the USPS in two separate packages. J.T. delivered the packages to the
United State Post Office in Dunlevy, Pennsylvania. Video was taken of J.T. as he completed
shipping documents and made payment to the USPS. L.T. communicated via phone texts with

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J.T. affirming shipment arrival. J.T. also texted that he was hunting North American Wood
turtles on this same date, With L.T.’s consent, agents opened the package and took photos of the
turtles.

During the text message exchanges between L,.T, and J.T., L.T. told J.T. that he was
waiting on money to arrive from Hong Kong before L.T. could send money to J.T. for the turtles
that he was capturing and sending to L.T.

L.T. also provided information about the individuals to whom he was selling the turtles,
L.T. told agents that he had a single buyer with whom he communicated despite shipping to three
separate addresses in California. L.T. told the agents that he arranged the deals with his buyer in
California through his email (golfnut]06@hotmail.com) and supplied agents with the email
address of his buyer, who he knew as H.M. (hy13d@hotmail.com). L.T. stated that all of the
turtle transactions were facilitated by communications through the golfnut]06@hotmail.com and
hy13d@hotmail.com email accounts. Based on this information, the government obtained
search warrants for the golfnuti06@bhotmail.com and hy13d@hotmail.com email accounts.’
Emails from these accounts would be introduced into evidence to demonstrate that L.T. and
H.M., aka H.Y.B.W., aka B.W. Transactions that occurred after L.T. began cooperating with the
government are detailed in the following paragraphs. The transactions that occurred before L.T.
began cooperating are substantially similar to those detailed below.

On July 8, 2014, L.T. and H.M. , aka H.Y.B.W., aka B.W. negotiated a sale of North

 

* On August 5, 2014, investigators received a response from Microsoft, Inc. regarding the search warrant executed
on the Hy] 3d@hotmail.com email address, The subscriber information for the account showed “H.M.” as the
creator of the account but the emails themselves indicate that H.Y.B.W. (who is the same person as H.M.) was the
user of the email address. The returned information also indicated that user IP addresses were in Hong Kong, China.
Investigators also located emails between A.W. and H.M. discussing the arrival of turtles, shipping costs, labor
costs, where to send payments, and the recipients of smuggled turtles.

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American Woed turtles via email. On July 9, 2014, L.T. received a wire for $6000 in a
government controlled account from H.M., aka H.Y.B.W., aka B.W. for payment of the North
American Wood turtles. On July 14, 2014, 17 North American Wood turtles were sent to “Kary
Lee” XXXX 8S Lois St. West Covina, CA 91792. On July 15, 2014, surveillance was conducted
by investigators in California. The surveillance confirmed delivery of the turtles at the recipient
address and the subsequent smuggling of the North American Wood turtles to Hong Kong by
A.W. On July 18, 2014, customs agents in Hong Kong conducted a controlled delivery of the
turtles and arrested H.M., aka H.Y.B.W., aka B.W. and another individual for accepting the
smuggled turtles.

On the morning of July 19, 2014, L.T. received an email from H.M., aka H.Y.B.W., aka
B.W. stating he was having problems with his hy13d@hotmail.com email and that he would be
contacting L.T. from a new email address. Thereafter, no more emails were sent by H.M., aka
H.Y.B.W., aka B.W. from the hyl3d@hotmail.com email address to  L.T.’s
golfnut]06@hotmail.com email address.

At agents’ request, L.T. then reached out to another individual who had previously
contacted him about turtles for purchase and who had mentioned H.M.’s name. Specifically, in
November 2013, L.T. had received emails to his golfnutl06@hotmail.com email address from
DAVE LNU claiming to have gotten L.T.’s golfnut] 06@hotmail.com email address from H.M.
DAVE LNU contacted L.T. via email address Cuorafever@gmail.com. DAVE LNU wanted to
begin buying North American Wood turtles from L.T. in the fall of 2013. DAVE LNU only

used the first name of DAVE and no other identifiers. DAWE LNU claimed that he worked with

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H.M. At that point, L.T. did not deal with DAVE LNU and instead sold turtles only to H.M. via
the hy13d@hotmail.com email address.

On July 21, 2014, L.T. sent an email from his golfnut106@hotmail.com email address to
DAVE LNU at his Cuorafever@gmail.com email address stating that L.T. was expecting a
shipment of turtles to sell and asking if everything was okay with H.M. DAVE LNU assured
L.T. that H.M. was okay and that H.M. would get back with him. DAVE LNU contacted L.T.
via the Cuorafever@gmail.com email address and stated that he would buy the turtles. L.T.
asked if DAVE LNU needed L.T.’s bank information for the wire, and DAVE LNU stated that
he had all of the information and would send a wire.

Based on these initial emails, which agents viewed through L.T.’s account, investigators
sought and obtained a search warrant directing Google Inc. to turn over information and emails
from the cuorafever@gmail.com account.’ Emails from these accounts would be introduced into
evidence to demonstrate that L.T. and DAVE LNU, aka HON KIT LAU, aka, JOHN LAU
knew that the turtles they were buying and selling were illegal for them to buy and sell. The
government would also show through these emails that DAVE LNU, aka HON KIT LAU, aka,
JOHN LAU works closely with H.M., and specifically that DAVE LNU knew L.T.’s banking
information, the prices H.M. was paying L.T. for the North American Wood turtles, and the

recipient information where L.T. was sending wood turtles in CA.

 

* The subscriber information for the account showed a “Dave Vernon” as the creator of the account. It also
indicated that user IP addresses were in Hong Kong, China, and the recovery email address is
Johnloon@hotmail.com. Emails from the account show that the person using the account is HON KIT LAU (aka,
JOHN LAU). The government has confirmed that DAVE LNU and HON KIT LAU (aka, JOHN LAU) are one
and the same person and that HON KIT LAU (aka, JOHN LAU) uses the DAVE LNU name in order to disguise
his identity.

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Investigators have also confirmed that a wire payment discussed by DAVE LNU in the
email communications was actually made. On July 24, 2014, a wire in the amount of $4,2254
was sent by K.W.O., presumably at the behest of DAVE LNU, to a government-controlled
account set up by agents to facilitate the investigation. The payment was for a shipment of North
American Wood turtles and was intended to be sent to L.T,

On July 24, 2014, L.T. asked DAVE LNU via email if he was interested in buying any
Eastern Box turtles, which are also illegal to harvest from Pennsylvania and illegal to sell from
Louisiana without a license. DAVE LNU agreed to purchase the Box turtles and a price was
negotiated. L.T. explained to DAVE LNU that L.T.’s friend in Pennsylvania, who catches the
Eastern Box turtles, wanted to know if DAVE LNU wanted additional Box turtles after the
negotiated sale, because there were plenty in the woods where he hunted them. DAVE LNU
replied “Yes [ can take loads. But please stay low key my friend :).”. DAVE LNU requested no
turtles be sent until the following Thursday, July 31, 2014.

On July 28, 2014, DAVE LNU had a wire for $3,750 sent to an account he believed to be
controlled by L.T., but that was actually controlled by Homeland Security Investigations. The
sender of the wire was A.K.W. (later confirmed to be the wife of DAVE LNU, aka HON KIT
LAU, aka, JOHN LAU). The wire was payment for North American Wood turtles and Eastern
Box turtles sold to DAVE LNU. The Wood turtles and Eastern Box turtles were illegally taken
in Pennsylvania and sold by J.T. to L.T. DAVE LNU requested no turtles be sent until the

following Thursday, July 31, 2014.

 

* Actual payment was $4250.00, but a processing fee reduced the total to $4225.00.
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On July 31, 2014, two shipments of North American Wood turtles were sent to A.W. at
the “Kary Lee” address in California detailed above. Surveillance efforts at the recipient address
confirmed delivery at the recipient address, but no smuggling activity was observed during the
surveillance. DAVE LNU, aka HON KIT LAU, aka, JOHN LAU later confirmed that this
shipment of turtles had been sent to Hong Kong.

From on or about August 8, 2014, through August 14, 2014, L.T. began negotiations via
email with DAVE LNU for the sale of a large number of North American Wood turtles and a
smaller number of Albino Red Eared Sliders. L.T. offered the sale of up to 100 North American
Wood turtles in return for a cash lump sum payment to be delivered in person. L.T. informed
DAVE LNU that he knew a competitor that would buy all the North American Wood turtles he
could get for $1000 per pair and pay in cash. L.T. informed DAVE LNU that he was in
Louisiana as the deal was being arranged. DAVE LNU agreed to pay $25,000 in cash towards
the deal and another $25,000 at a later date if L.T. could produce the North American Wood
turtles. At that point a back and forth dialog about scheduling the meeting began.

DAVE LNU reassured L.T. that he wanted to continue buying North American Woced
turtles from him and that he could be trusted. DAVE LNU offered to send L.T. a pair of NIKE
shoes as a gift to keep their business relationship going. As the email conversation progressed,
L.T. asked DAVE LNU how much DAVE LNU was reselling the North American Wood turtles
for in China. DAVE LNU stated that he is located in California and said that he does not sell
directly to China but wholesales to an Asian customer and gets $1200 a pair. DAVE LNU also

discussed his knowledge of two law enforcement operations where someone got caught sending

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Box turtles to China from Seattle, and where a group of Asians got caught taking turtles in and
out of the United States through Canada.

During the scheduling dialog, L.T. attempted to get DAVE LNU to travel to New
Orleans, LA for the meeting, but DAVE LNU would not. They eventually arranged to meet at a
mall food court in Orlando, Florida. On Tuesday, August 19, 2014, L.T. met with DAVE LNU
at the Mall at Millennia food court in Orlando, Florida at approximately ] pm. Agents monitored
the conversation by video and audio. After a short introduction, L.T. told DAVE LNU that he
had driven in from Louisiana with North American Wood turtles that were caught from the wild
in Pennsylvania. DAVE LNU said that he was there only to give L.T. $25,000 for his friend
H.M. and that the money was for Albino Red-Eared Sliders and not for North American Wood
turtles. The two men then made small talk about turtles, including prices for certain kinds of |
turtles. DAVE LNU said that H.M. had a turtle project in California, but that DAVE LNU was
mainly a pig farmer. There was then some additional small talk about turtles and then a pause
while L.T. went to get some food. When L.T. returned, DAVE LNU’s demeanor seemed more
relaxed. L.T. inquired about delivering the North American Wood turtles to California in large
numbers and DAVE LNU said that he could only take 25 at a time. L.T. asked why he couldn’t
just bring them to H.M.’s turtle project. DAVE LNU said that he could not do that because they
could only handle 25 because H.M. has a small office set up in California to handle turtles.
DAVE LNU said H.M. has two females, one named A.,° who receive the turtles that are sent and
maintain the turtles at their family’s residence and can only handle 25 at a time. L.T. asked if

DAVE LNU meant “Kary Lee” and DAVE LNU agreed, DAVE LNU and L.T. discussed

 

> DAVE LNU used the first name of A.W,
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future deals and DAVE LNU said he would pay cash if that is what L.T. wants for the North
American Wood turtles. DAVE LNU said that H.M. brought DAVE LNU in because DAVE
LNU can produce the cash. DAVE LNU said he would come back into the United States in a
month with the next $25,000 for the next shipment. There was a conversation about trust and
DAVE LNU said that he felt better and trusted L.T. after meeting with him. DAVE LNU said
that he was a little nervous with L.T. bringing the North American Wood turtles because he
knew that undercover agents create stings to arrest people. DAVE LNU said that all he wants to
be told in deals is that the turtles are captive breed. He doesn’t want to hear that they came from
the wild. DAVE LNU provided L.T. with $25,000 cash for the sale of North American Wood
turtles that were captured from the wild in Pennsylvania, shipped to Louisiana, and brokered for
sale from Louisiana. DAVE LNU said that he really wanted to stay low key with any future
deals, and L.T. agreed and said that’s why he wanted to be paid in cash and wanted to deliver the
turtles instead of shipping. DAVE LNU said that he did not want to take the four North
American Wood turtles that L.T. had brought with him and asked that L.T. mail them to the
same address in California. The meeting ended around 2:50 pm.

Shortly after the meeting between L.T. and DAVE LNU ended, agents arrested DAVE
LNU while he was still at the food court.

DAVE LNU, aka HON KIT LAU, aka, JOHN LAU resided in Hong Kong during the
time period at issue in the Superseding Bill of Information. DAVE LNU, aka HON KIT LAU,
aka, JOHN LAU admits that he partnered with H.Y.B.W., aka H.M., aka B.W., who also resides
in Heng Kong, and others to export North American Wood turtles from the United States to
Hong Kong. H.Y.B.W., aka H.M., aka B. W, was in charge of arranging for the smuggling, and

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DAVE LNU, aka HON KIT LAU, aka, JOHN LAU was primarily responsible for providing
the money to finance the transactions. DAVE LNU, aka HON KIT LAU, aka, JOHN LAU
admits that all of the shipments of turtles that L.T. sent to California as part of the scheme were
eventually smuggled to Hong Kong. DAVE LNU, aka HON KIT LAU, aka, JOHN LAU also
admits that the wire transfer payments made to L.T. were payment for North American Wood
turtles that were being transshipped to drop locations in California for eventual export to Hong
Kong. DAVE LNU, aka HON KIT LAU, aka, JOHN LAU admits that the shipments of turtles
that were sent from California to Hong Kong did not properly declare that the contents of the
shipments were in fact turtles, nor otherwise comply with the requirements imposed by CITES. °
Because DAVE LNU, aka HON KIT LAU, aka, JOHN LAU also conducts turtle transactions
that comply with CITES requirements, he knew full well that the shipments he was receiving as
part of the conspiracy with L.T. were not legally exported nor in compliance with CITES.
DAVE LNU, aka HON KIT LAU, aka, JOHN LAU also admits that he knew the North
American Wood turtles were being captured from the wild and that it was illegal to buy, sell,
trade, or deal in Tey American Wood turtles captured from the wild.

MLL Y

Ei HALLER Date
Assistant United States Attorney

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HON KIT LAU Date

Defendant

Pe fl OF
MICHAEL J. SYURE Date

Attorney for Defendant

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